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                                                                                   Form 1                                                                               Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:          18-30785 KKS                                                            Trustee: (290330)           Mary W. Colon, chapter 7 trustee
Case Name:            STEWART, BRENDA SUE                                                     Filed (f) or Converted (c): 08/27/18 (f)
                                                                                              §341(a) Meeting Date:       10/23/18
Period Ending:        12/31/18                                                                Claims Bar Date:            03/08/19

                                 1                                         2                         3                          4                  5                    6

                       Asset Description                               Petition/             Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                        Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

 1       569 3rd Ave, Holt, FL 32564-9355, Okaloosa                       72,374.00                          0.00                                       0.00             5,500.00
           short sale to pursue with BK Global

 2       1994 Isuzu Regular Cab Pickup                                     1,000.00                          0.00                                       0.00                   FA

 3       Hosusehold goods                                                      575.00                        0.00                                       0.00                   FA

 4       Printer, Small Television set, mobile phone                            45.00                        0.00                                       0.00                   FA

 5       Used personal wardrobe and accessories                                100.00                        0.00                                       0.00                   FA

 6       costume/decorative pieces                                              50.00                        0.00                                       0.00                   FA

 7       Cash                                                                   50.00                        0.00                                       0.00                   FA

 8       Wells Fargo Checking Account                                           16.05                        0.00                                       0.00                   FA

 9       2018 tax refund                                                       500.00                      500.00                                       0.00             1,000.00
           estimated

10       ***duplicate****                                                        0.00                        0.00                                       0.00                   FA

10       Assets             Totals (Excluding unknown values)            $74,710.05                       $500.00                                      $0.00            $6,500.00


     Major Activities Affecting Case Closing:
              mortgage is with US Rural Development
              BK Global & Assurance Realty of NWFL to sell 569 3rd Ave, Holt, FL
              Claims bar to run 3-8-19
              2018 tax return/refund (noticed 11-9-18)
              EIN to be applied for
              TFR
              TDR

                                                                                                                                              Printed: 01/16/2019 10:16 AM   V.14.14
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Ref. #                                                                                      and Other Costs)                                                Remaining Assets

            Application to Employ BK Global filed doc. 14.
            Emailed 9-25-18 requesting access and mortgage statement
            offer from Potthast re: 569 3rd Ave, Holt, FL

    Initial Projected Date Of Final Report (TFR): October 30, 2019                     Current Projected Date Of Final Report (TFR): October 30, 2019




                January 16, 2019                                                       /s/ Mary W. Colon, chapter 7 trustee
         __________________________                                                    _________________________________________________________________
                      Date                                                             Mary W. Colon, chapter 7 trustee




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